             Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 1 of 8



                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA         )
                                    )
            V.                      )                Crim. No. 07-181 (EGS)
                                    )
    ZHENLI YE GON                   )
____________________________________)


              SUPPLEMENT TO THE GOVERNMENT’S MOTION TO DISMISS

        COMES NOW the United States of America, by and through Paul O’Brien, Chief,

Narcotics and Dangerous Drug Section, and supplements its motion to dismiss filed on June 22,

2009.

        I.       Introduction

        The defendant is charged in Mexico in a scheme to import and manufacture precursor

chemicals and to launder drug proceeds. That case has the personal attention of the Mexican

Attorney General. In its motion to dismiss, the government explained that the Mexican

government has formally requested extradition of the defendant, who is a Mexican national, and

that an extradition proceeding is now pending. We further explained why the interests of justice

and the ongoing collaborative efforts between the United States and the Government of Mexico

in combating international drug trafficking would be best served by giving precedence to

Mexico’s prosecution of the defendant.

        The purpose of this supplement to the government’s motion to dismiss is to address the

factual and legal questions raised by the court at the June 22, 2009 status hearing concerning the

government’s compliance with its discovery obligations in this case. As explained in the

attached declaration of Assistant U.S. Attorney Paul Laymon, the government has produced to
         Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 2 of 8



the defense more than 75 volumes of discovery materials, including forensic reports, reports of

interviews, banking records, gambling records, shipping records, and so on. Those materials

were produced to the defense beginning in 2007. The Court has suggested that, despite the fact

that we are four months before the scheduled trial in this case, the government’s compliance with

a court-ordered deadline for producing Brady material nonetheless constitutes a failure to turn

over Brady material. The court’s suggestions are not supported by the law. Indeed, courts have

uniformly rejected the notion that Brady disclosures need to be made in pretrial proceedings, let

alone immediately, as the Court appears to suggest; due process is satisfied as long as the

material is disclosed in time for the accused to make effective use of it at trial. See, e.g., United

States v. Andrews, 532 F.3d 900, 907-08 (D.C. Cir. 2008); United States v. Coppa, 267 F.3d 132,

142-44 (2d Cir. 2001); United States v. Wilson, 160 F.3d 732, 741-42 (D.C. Cir. 1998); see also

p. 5 n.2, infra (citing cases from other circuits); cf. Weatherford v. Bursey, 429 U.S. 545, 559

(1977) (“It does not follow from the prohibition against concealing evidence favorable to the

accused that the prosecution must reveal before trial the names of all witnesses who will testify

unfavorably.”). We are not aware of any precedent holding that the government violates Brady v.

Maryland, 373 U.S. 83 (1963), by disclosing information four months before the start of trial in a

case which it then moves to dismiss.

       As explained more fully below, the government submits that it has fully complied with its

Brady obligations.

       II.     The Prosecution’s Brady Obligations

       In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court held that due process

requires the prosecution to disclose “evidence favorable to an accused . . . where the evidence is


                                                  2
           Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 3 of 8



material either to guilt or to punishment, irrespective of the good faith or bad faith of the

prosecution.” Id. at 87.1 That obligation arises from the defendant’s right to a fair trial. See

United States v. Ruiz, 536 U.S. 622, 628-29 (2002). A “true Brady violation” requires three

showings: (1) that the evidence in question was favorable to the accused; (2) that the prosecution

suppressed the evidence; and (3) that the evidence was material to the establishment of his guilt

or innocence. Strickler v. Greene, 527 U.S. 263, 281-82 (1999); accord United States v.

Andrews, 532 F.3d 900, 905 (D.C. Cir. 2008) (quoting Strickler).

       “Favorable” evidence under Brady includes “[i]mpeachment evidence, . . . as well as

exculpatory evidence.” United States v. Bagley, 473 U.S. 667, 676 (1985) (citing Giglio v.

United States, 405 U.S. 150, 154 (1972)).

        Under the suppression prong, an individual prosecutor must disclose materially favorable

information known to him, and “has a duty to learn of [and disclose] any favorable evidence

known to the others acting on the government’s behalf in the case, including the police.” Kyles

v. Whitley, 514 U.S. 419, 437-38 (1995); accord Strickler, 527 U.S. at 280-81; In re Sealed Case,

185 F.3d 887, 892 (D.C. Cir. 1999). The prosecutor, however, does not have an affirmative

obligation to search for and disclose materially favorable information that is not in the possession

of the prosecution team. See, e.g., United States v. Graham, 484 F.3d 413, 417 (6th Cir. 2007),

cert. denied, 128 S. Ct. 1703 (2008); United States v. Earnest, 129 F.3d 906, 610 (7th Cir. 1997).

Nor does the prosecutor violate Brady by failing to disclose materially favorable information

when circumstances of which the defendant is aware suggest that the evidence is available to the


       1
        The government’s disclosure obligation runs to the defendant. We are not aware of any
requirement under Brady that the government disclose the materially favorable information to the
court.

                                                  3
         Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 4 of 8



defense from other sources in the exercise of reasonable diligence. See, e.g., United States v.

Pelullo, 399 F.3d 197, 202 (3d Cir. 2005) (noting “the well-established principle that the

government is not obliged under Brady to furnish a defendant with information which he already

had or, with any reasonable diligence, he can obtain himself”) (internal quotation marks omitted),

cert. denied, 546 U.S. 1137 (2006); United States v. Hicks, 848 F.2d 1, 4 (1st Cir. 1988) (no

Brady violation where the defense knew of and had access to the potential witness, and therefore

was “on notice of the essential facts required to enable him to take advantage of [the] exculpatory

testimony”) (quoting United States v. Ruggiero, 472 F.2d 599, 604 (2d Cir.), cert. denied, 412

U.S. 939 (1973)).

       Further, because a defendant’s rights under Brady and Giglio are “trial-related rights,”

Ruiz, 536 U.S. at 631, Brady does not require disclosure of materially favorable evidence in

pretrial proceedings. See id. at 628-31 (holding that prosecution was not required to disclose

impeachment information prior to guilty plea because Brady doctrine relates to fairness of trial,

not earlier, plea-bargaining stage); Weatherford v. Bursey, 429 U.S. 545, 559 (1977) (“There is

no general constitutional right to discovery in a criminal case, and Brady did not create one.”);

United States v. Bowie, 198 F.3d 905, 912 (D.C. Cir. 1999) (expressing doubt that Brady requires

disclosure of impeachment information with respect to pretrial suppression hearing). Courts

have uniformly rejected the notion that Brady disclosures must be made before trial, let alone

immediately when the government comes into possession of the material in question; the

government satisfies its Brady obligations by furnishing materially favorable information in time

for the defendant to use it at trial. See Andrews, 532 F.3d at 907-908 (rejecting Brady challenge

because defendant received information in time to make effective use of it at trial); United States


                                                 4
           Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 5 of 8



v. Tarantino, 846 F.2d 1384, 1417 (D.C. Cir. 1988) (holding that “nothing approaching a Brady

violation occurred,” despite defendant’s claim that production was too late, because earlier

disclosure would not have appreciably enhanced the effectiveness of the defendant’s use of the

information at trial); United States v. Paxson, 861 F.2d 730, 737 (D.C. Cir. 1988) (no Brady

violation when a defendant receives exculpatory evidence “in time to make effective use of it”).2

       Finally, evidence is “material” within the meaning of Brady if “‘there is a reasonable

probability’ that the result of the trial would have been different if the suppressed documents had

been disclosed to the defense.” Strickler, 527 U.S. at 289 (quoting Kyles, 514 U.S. at 434);

accord United States v. Brodie, 524 F.3d 259, 268 (D.C. Cir. 2008), cert. denied, 129 S. Ct. 1396

(2009). A “‘reasonable probability’ of a different result is . . . shown when the government’s

evidentiary suppression ‘undermines confidence in the outcome of the trial.’” Kyles, 514 U.S. at

434 (quoting Bagley, 473 U.S. at 678).3


       2
           Other circuits agree that Brady does not require pretrial disclosure and that its
requirements are satisfied if the information is provided in time for the defendant to use it at trial.
See, e.g., Bielanski v. County of Kane, 550 F.3d 632, 645 (7th Cir. 2008); United States v. Smith,
534 F.3d 1211, 1223 (10th Cir.), cert. denied, 129 S. Ct. 654 (2008); United States v.
Mangual-Garcia, 505 F.3d 1, 5-6 (1st Cir. 2007); United States v. Almendares, 397 F.3d 653,
664 (8th Cir. 2005); United States v. Williams, 132 F.3d 1055, 1060-1061 (5th Cir. 1998); United
States v. Woodley, 9 F.3d 774, 777 (9th Cir. 1993); United States v. Higgs, 713 F.2d 39, 43-44
(3d Cir. 1983); United States v. Kubiak, 704 F.2d 1545, 1550 (11th Cir. 1983); see also Leka v.
Portuondo, 257 F.3d 89, 100 (2d Cir. 2001).
       3
         In United States v. Safavian, 233 F.R.D. 12 (D.D.C. 2005) (Friedman, J.), the court
concluded that “the government must always produce any potentially exculpatory or otherwise
favorable evidence without regard to how the withholding of such evidence might be viewed –
with the benefit of hindsight – as affecting the outcome of trial,” id. at 16, and ordered the
government, before trial, immediately to disclose Brady material. That view of Brady, we
submit, does not reflect the scope of the government’s disclosure obligations, nor has that view
been adopted by other courts. See, e.g., Coppa, 267 F.3d at 142-44, 146 (vacating district court
order requiring production of all favorable information immediately upon demand by defendant).
In any event, the government’s disclosure in this case was timely, as it occurred four months

                                                  5
          Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 6 of 8



        III.    The Government Has Complied With Its Brady Obligations In This Case.

        As the foregoing precedents demonstrate, the government has fully complied with its

Brady obligations in this case. On May 22, 2009, the government notified the defense in writing

of Brady and Giglio information in its possession, including information that one potential

government witness in this case denied making previous inculpatory statements about the

defendant; that one Escandon Paz (an incarcerated defendant in the Mexican case whom the

government did not intend to call as a witness in this case) recanted his previous statement that

he had obtained quantities of ephedrine from defendant Ye Gon and had sold them on behalf of

defendant; and that Michelle Wong, defendant’s girlfriend and a defendant in a related case,

recanted statements she had made incriminating him. The government’s May 22nd disclosure

predated the start of trial by four months, giving the defense more than sufficient time to

investigate the information and prepare for its possible use at trial. The defendant did not even

request a continuance in light of the government’s disclosure. See Andrews, 532 F.3d at 907

(noting that the defendant did not request a continuance in order to have sufficient time to make

use of impeaching material disclosed during trial). Therefore, even assuming arguendo that the

information was materially favorable to defendant, he has no viable claim of a Brady violation

because the government did not suppress the information at all. Moreover, any claim by

defendant that an earlier disclosure would have affected his willingness to engage in plea

negotiations (which, in any event, did not result in a plea agreement) is unavailing, as the

Supreme Court has made clear that Brady and Giglio are “trial-related rights,” Ruiz, 536 U.S. at

631, and the information disclosed in the May 22nd notice does not contain exculpatory evidence


before the scheduled start of trial.

                                                 6
         Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 7 of 8



of his actual innocence.

        As set forth in detail in our motion to dismiss, the government has concluded, after

balancing the relative strengths and weaknesses of the American and Mexican prosecutions as

well as the strong interest of Mexico in pursuing its charges against its own citizens for conduct

occurring in Mexico, that it is preferable to defer to Mexico’s extradition request and allow that

country’s case to take precedence. In reaching this decision, and in setting forth in full the basis

for the government’s motion to dismiss these charges, we have in no way meant to suggest that

we have any doubts about the defendant’s guilt or that we believe we do not have a provable

case. We submit only that, as between the two countries’ prosecutions, there are sufficient

reasons -- including a less complicated set of charges and the prospect of a very lengthy sentence

-- to defer to Mexico's request for the return of its citizens for trial there.

        Nor is there any reason to believe that the government has purposely delayed its motion to

dismiss so as to needlessly prolong the defendant’s incarceration. He is charged in both countries

with very serious offenses; the risk of flight has already been determined to be real; and the filing

of an extradition complaint separately gives rise to a presumption of detention pending a

determination of extraditability and an eventual decision by the Secretary of State, see Wright v.

Henkel, 190 U.S. 40, 61-62 (1903). In short, there are ample reasons for defendant’s continued

incarceration and no basis for a suggestion that either the United States or Mexico is knowingly

detaining innocent people. Therefore, we respectfully ask that the court dismiss this criminal

case without prejudice.

                                                 Respectfully submitted,

                                                 ___/s/____________________________


                                                    7
        Case 1:07-cr-00181-EGS Document 178 Filed 06/24/09 Page 8 of 8



                                    Paul O’Brien
                                    Chief, Narcotics and Dangerous Drug Section

                                    Paul W. Laymon
                                    Wanda Dixon
                                    Trial Attorneys
                                    Criminal Division, Department of Justice
                                    1400 New York Avenue, Suite 8410
                                    Washington, DC 20005
                                    (202) 514-1286
                                    paul.laymon@usdoj.gov
                                    wanda.dixon@usdoj.gov

June 24, 2009




                                      8
